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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                        CASE NO.: 1:21-cv-23266-WILLIAMS/MCALILEY

  ALEXIS LOPEZ,

         Plaintiff,

  vs.

  CANO HEALTH LLC.,

        Defendants.
  ______________________________/

                         NOTICE OF CHANGE OF EMAIL ADDRESS

         Toussaint M. Cummings, Esq., of the FairLaw Firm notifies the Court and all parties of his

  appearance in this action as counsel for Plaintiff, Alexis Lopez, in this action and requests that all

  pleadings, correspondence, and documents related to this matter be served on him at the below

  address / email address.

         Dated this 27th day of September 2021.

                                                          s/Toussaint M. Cummings, Esq.
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